          Case 2:15-cr-00547-UA Document 31 Filed 12/18/18 Page 1 of 1 Page ID #:59

Summons(Rev. 03/18)


                 U NITED STATES DISTRICT COURT
                                                      FOR THE

                                 CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,

                        Plaintiff,                     )         Case No. CR 15-0547
                                                                                                    :.. .   _ _a
                                                                                                            rr

V.
                                                       /                                            1' ,    ~~
                                                                REVISED SUMMONS TO APR~AI
ASBURY ENVIRONMENTAL                                   )                                   --
SERVICES,INC.,                                         )                              _.   ~
                                                                                         i                                     n
                        Defendant.                     )                               ~    c.,~


TO:     Asbury Environmental Services, Inc.
        ATTN: Jerry A. Behnke, Esq.
        Larson O'Brien LLP
        555 South Flower Street, Suite 4400
        Los Angeles, CA 90071
        Email: jbehnke@larsonobrienlaw.com

        You are hereby summoned to appear before the United States District Court for the Central District of California

at the Roybal Federal Building, 255 East Temple Street, Los Angeles,in Courtroom 341 on the 3rd Floor, before the

Duty Magistrate Judge on February 25, 2019, at 2:00 p.m., to answer to an information (attached hereto) charging you

with violating 33 U.S.C. §§ 1311(a), 1319(c)(1)(A), and 18 U.S.C. § 2(b).                                          ~~~~~          ;'~~
                                                                                                                                  ;~ ,
                                                                                                                 t~ a   ~'~:           ~g
                                                                                                             ` ~ ~~'                    5
Dated: November 14, 2018                                        CLE     ~ U.S. DIST    C C                                        ~ ~4
                                                                                                                    '
                                                                                                                    ' :4

                                                                By                                                                    `~r~
                                                                                                                                  v
                                                                        Deputy Cl rk          INDY L. ORELLRNA             1GUZ


                                                     RFTTTRN


This summons was received by me at ,._<.; r~,.!~ C ~rS ~                      on      i ti 3 ~~




                                                        ASBURY           IRONMENT L SERVICES,INC.
Note:   IF YOU HAVE NOT RETAINED AN ATTORNEY,PLEASE CONTACT THE FEDERAL PUBLIC DEFENDER'S OFFICE AT (213)894-2854.
